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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION


UNITED STATES OF AMERICA,                   )
                                            )
            Plaintiff,                      )
                                            )
      vs.                                   ) Case No. 4:08CR378 CDP
                                            )
JESTIN LOUIS CARDWELL,                      )
                                            )
            Defendant.                      )

                            MEMORANDUM OPINION

      Defendant Jestin Cardwell, acting through counsel, has moved for a

reduction of sentence under 18 U.S.C. § 3582, seeking to benefit from the reduced

sentencing guidelines for most drug offenses. I conclude that Cardwell is eligible

for a reduction, but not to the full extent he seeks. Therefore, I will grant his

motion in part and impose an amended sentence of 95 months.

                                      Discussion

      Absent statutory authority, the Court cannot reduce a final sentence. Section

3582(c) of Title 18 provides authority for the Court to do so under very limited

circumstances. One of those circumstances allows the Court to reduce the sentence

“in the case of a defendant who has been sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing

Commission . . . .” In Amendment 782, effective November 1, 2014, the United
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States Sentencing Commission lowered the sentencing ranges for the offenses

listed in §§ 2D1.1 and 2D1.11 of the Sentencing Guidelines. The Commission

determined that the reduction should apply retroactively, so it added Amendment

782 to the list of retroactive amendments in U.S.S.G. § 1B1.10(c). However, the

Commission also subjected Amendment 782 to the new section § 1B1.10(e),

effectively delaying its implementation until November 1, 2015. Thus, many

defendants previously sentenced for drug offenses are eligible for reduced

sentences, but none benefitting from Amendment 782 can be released before

November 1, 2015. Whether a particular defendant qualifies, of course, depends

on the facts of his particular case.

        Defendant Jestin Cardwell pled guilty to three pseudoephedrine-related

offenses.1 Under the 2007 sentencing guidelines, the base offense level for these

offenses was 34. 2 After a three-level reduction for acceptance of responsibility,

Cardwell’s total offense level was 31. With his criminal history category of V, his

guideline range was 168 months to 210 months. Considering the parties’ plea

agreement and the government’s motion under 18 U.S.C. § 3553 and U.S.S.G. §



1
  These offenses were: one count of conspiracy to possess pseudoephedrine knowing and
having reasonable cause to believe it would be used to manufacture methamphetamine, under 21
U.S.C. §§ 841(c)(2) and 846, and two counts of possession of pseudoephedrine knowing and
having reasonable cause to believe it would be used to manufacture methamphetamine, under 21
U.S.C. § 841(c)(2).
2
  This reflects a quantity of pseudoephedrine for which Cardwell is accountable of more than
300 grams and less than 1 kilogram. See U.S.S.G. § 2D1.11(d)(5).
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5K1.1, I sentenced Cardwell to 114 months’ imprisonment, a departure of nearly

32.14% from the low end of the guidelines range then in effect.

       Under the amended guidelines, Cardwell’s base offense level for this

quantity of pseudoephedrine is 32, resulting in a total offense level of 29 after

reduction for acceptance of responsibility. With his criminal history category of V,

his new guidelines range is 140 months to 171 months. Thus, his guidelines range

was in fact lowered by the Sentencing Commission through Amendment 782, and

under 18 U.S.C. § 3582(c), he is eligible for a reduction to a sentence within that

new lower range.

      However, because Cardwell’s original sentence was subject to a departure

for substantial assistance, this is not the end of the inquiry. Under the amended

Guideline § 1B1.10(b)(2)(B), I may also reduce his sentence by an amount

“comparably less than the amended guideline range.” The original departure was

32.14% less than the low end of the original guidelines range. Under the new

sentencing range, a 32.14% reduction leads to a 95-month sentence. Despite

Cardwell’s argument to the contrary, that is the lowest sentence I have the

authority to impose. See U.S.S.G. § 1B1.10(b)(2)(B) and Application Note 3

(2011); 18 U.S.C. §§ 3582(c)(2), 3553(a)(4)(A)(i); Dillon v. United States, 560

U.S. 817, 826 (2010). I will reduce Cardwell’s sentence to 95 months.




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      As Cardwell points out in his motion, he would be eligible for release before

November 1, 2015, if the Amendment 782 were not subject to delayed

implementation. However, I have no authority to enter an order releasing him

before this date. U.S.S.G. § 1B1.10(e).

      Accordingly,

      IT IS HEREBY ORDERED that Cardwell’s motions for a reduction of his

sentence [#228, #229, #239] are granted in part. As provided in the accompanying

Order, defendant Jestin Cardwell’s sentence is reduced to 95 months. The Order

takes effect on November 1, 2015.




                                           CATHERINE D. PERRY
                                           UNITED STATES DISTRICT JUDGE




Dated this 26th day of February, 2015.




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